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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Criminal Case No. 21-cr-0229-RBJ

UNITED STATES OF AMERICA,

                        Plaintiff,

v.

     1. DAVITA INC.,

     2. KENT THIRY,

                        Defendants.



                       STIPULATION REGARDING CASE SCHEDULE


          The parties, by and through their undersigned counsel, and subject to approval of the

Court, hereby stipulate and agree that the following schedule shall govern the proceedings in this

matter:




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                                   PROPOSED CASE SCHEDULE

                           Event                                                   Date
      DaVita Corp. Disclosure Statement                                         8/23/2021

      Motion to Dismiss filing deadline                                         9/14/2021

      Government's Rule 16 production deadline                                  9/20/2021

      Government's response to MTD                                             10/19/2021

      Defendants' Rule 16 production deadline                                  10/20/2021

      Defendants' reply re MTD                                                  11/2/2021

      Oral argument on MTD                                                     11/19/2021

      All other motions deadline                                                12/3/2021

      Motions in Limine, including under FRE 702                               12/17/2021

      Response to all other motions                                             1/7/2022

      Responses to Motions in Limine                                            1/14/2022

      Production of 18 U.S.C. 3500 material, Witness                            1/24/2022
      Lists, Exhibit Lists

      Supplemental Motions in Limine relating to 3500                           2/7/2022
      material, Witness and Exhibit Lists

      Proposed Voir Dire, Jury Charge                                           2/7/2022

      Responses to Supplemental Motions in Limine                               2/21/2022

      General Motions Hearing                                                   3/3/2022

      Trial 1                                                            3/28/2022 - 4/15/2022



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 Defendants have filed a Joint Unopposed Motion for an Ends of Justice Exclusion of 231 Days from the Speedy
Trial Calendar Pursuant to Title 18, United States Code, Sections 3161(h)(7)(A) and (B)(i), (ii) and (iv).
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Respectfully submitted this 10th day of August, 2021.



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                                CERTIFICATE OF SERVICE

       I certify that on August 10, 2021, I filed this document with the Clerk of the Court for the

United States District Court for the District of Colorado using the CM/ECF system, which will

serve this document on all counsel of record.




                                                      s/ John Walsh
                                                     John Walsh




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